                                   No. 23-1343



           In the United States Court of Appeals
                   for the First Circuit
                          _____________________

                          UNITED STATES OF AMERICA,
                                   Appellee,

                                         v.

                         ÁNGEL L. VILLODAS-ROSARIO,
                             Defendant-Appellant.
                         _____________________

               On Appeal from the United States District Court
                         for the District of Puerto Rico
                          Case No. 14-cr-663-RAM-1
              Hon. Raúl Arias-Marxuach, Chief, U.S. District Judge
                        _____________________

                            APPELLANT’S NOTICE RE:
                                 REPLY BRIEF
                          _____________________

TO THE HONORABLE COURT:

      The reply brief for the defendant-appellant, Ángel L. Villodas-Rosario, is due

today, March 15, 2024. The due date had been extended upon motion by the

undersigned attesting that additional time was necessary to “discuss with and advise

Mr. Villodas on a sensitive” case-related issue, and that consultation was necessary
before counsel could take “additional steps in this case….” Motion at 2, No. 23-1343

(Feb. 26, 2024). That attorney-client call took place earlier in the week.

      After consulting with Mr. Villodas, and having carefully reviewed the record

and the parties’ submissions, the undersigned respectfully informs the Court that we

will not file a reply brief in this matter. As noted, we have remained in contact with

Mr. Villodas, and he is aware of developments in this case.

      WHEREFORE, we respectfully ask the Court to note the foregoing information

and deem the case submitted. See Appellant’s Brief at viii.

      RESPECTFULLY SUBMITTED on March 15, 2024.

                                 S/FRANCO L. PÉREZ REDONDO
                                 Assistant Federal Public Defender
                                 Supervisor, Appeals Section
                                 First Circuit Bar No. 1175955
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       CERTIFICATION: I ECF-filed this NOTICE on March 15, 2024, notifying the
parties/government counsel.




                                        2 of 2
